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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


PARADISE CONCEPTS, INC, ET AL.                    :
                                                  :       CIVIL ACTION
              v.                                  :
                                                  :       NO. 20-2161
                                                  :
THOMAS W. WOLF, ET AL.                            :
                                                  :

                                          ORDER

        AND NOW, this 5th day of October , 2021, upon consideration of Defendants’

Motion for Summary Judgment (ECF No. 30) and Plaintiffs’ Cross Motion for Summary

Judgment (ECF No. 34), and all documents submitted in support thereof and in opposition

thereto, it is ORDERED as follows:

   1)      Defendants’ Motion for Summary Judgment (ECF No. 30) is GRANTED and

           Plaintiffs’ Cross Motion for Summary Judgment (ECF No. 34) is DENIED.

   2)      Judgment is entered in favor of Defendants Thomas W. Wolf, Rachel Levine, M.D.,

           Kalonji Johnson, and Dennis M. Davin. Judgment is entered against Plaintiffs

           Paradise Concepts, Inc., MWS, LLC, and MQRE, LLC.

   3)      The Clerk of Court is directed to mark this matter CLOSED.

        IT IS SO ORDERED.



                                                          BY THE COURT:


                                                           /s/ R. Barclay Surrick______
                                                          R. BARCLAY SURRICK, J.
